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3        IN THE CIRCUIT COURT OF THE TWENTIETH JUDICIAL CIRCUIT IN AND FOR
                             COLLIER COUNTY, FLORIDA
4                                   CIVIL ACTION
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6
      CLARK PEAR, LLC,                                    CASE NO. 2023-CA-000111
7
8
      PLAINTIFF/COUNTERDEFENDANT,                         NOTICE OF REMOVAL OF ACTION
9                                                         UNDER 28 U.S.C. §1441 (a)-FEDERAL
      VS.                                                 QUESTION
10
11    MVP, LLC
12
      Individually,
13                                                        HEARING
14               DEFENDANT(S)
15                                                        Date:
                                                          Time:
16                                                        Place:
17
18
19   1.TO THE CLERK OF THE ABOVE-ENTITLED COURT:PLEASE TAKE NOTICE that
20   Plaintiff is removing this action to Federal Court for the Middle District of Florida.
21   .Removal is permitted do a 57.105 Letter and Motion which is a form of Counterclaim. Due to a
22   Counterclaim being filed Plaintiff Pear was made a Defendant through a continuing process,
23   which will allow him to qualify as to timeliness.
24
25   2. There are numerous federal questions, but the primary one is the Constitutionality of Florida
26   Statute 57.105.
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2      3. Plaintiff/Counterdefendant Pear is a victim of Breach Of Contract.          Two of      his
3      Complaints have been dismissed, and rather than file an Answer, Defendant MVP has filed a
4      third motion to dismiss. This is a case where there are signed and notarized Contracts, which
5      were breached by MVP, so it is unlikely the Complaint of Pear will be dismissed again, but
6      Pear should not be subject to a Judicial determination that could put him at risk of owing the
7      attorneys fees of MVP, because it will diminish his Constitutional access to the Court’s
8      guaranteed by the 14th and other Amendments to the United States Constitution, and the
9      Constitution itself.
10     57.105    Attorney’s fee; sanctions for raising unsupported claims or defenses; exceptions;
11     service of motions; damages for delay of litigation.—
12     (1) Upon the court’s initiative or motion of any party, the court shall award a reasonable
13     attorney’s fee, including prejudgment interest, to be paid to the prevailing party in equal
14     amounts by the losing party and the losing party’s attorney on any claim or defense at any
15     time during a civil proceeding or action in which the court finds that the losing party or the
16     losing party’s attorney knew or should have known that a claim or defense when initially
17     presented to the court or at any time before trial:
18     (a) Was not supported by the material facts necessary to establish the claim or defense; or
19     (b) Would not be supported by the application of then-existing law to those material facts.
20     (2) At any time in any civil proceeding or action in which the moving party proves by a
21     preponderance of the evidence that any action taken by the opposing party, including, but not
22     limited to, the filing of any pleading or part thereof, the assertion of or response to any
23     discovery demand, the assertion of any claim or defense, or the response to any request by
24     any other party, was taken primarily for the purpose of unreasonable delay, the court shall
25     award damages to the moving party for its reasonable expenses incurred in obtaining the
26     order, which may include attorney’s fees, and other loss resulting from the improper delay.
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1      (3) Notwithstanding subsections (1) and (2), monetary sanctions may not be awarded:
2      (a) Under paragraph (1)(b) if the court determines that the claim or defense was initially
3      presented to the court as a good faith argument for the extension, modification, or reversal of
4      existing law or the establishment of new law, as it applied to the material facts, with a
5      reasonable expectation of success.
6      (b) Under paragraph (1)(a) or paragraph (1)(b) against the losing party’s attorney if he or
7      she has acted in good faith, based on the representations of his or her client as to the
8      existence of those material facts.
9      (c) Under paragraph (1)(b) against a represented party.
10     (d) On the court’s initiative under subsections (1) and (2) unless sanctions are awarded
11     before a voluntary dismissal or settlement of the claims made by or against the party that is,
12     or whose attorneys are, to be sanctioned.
13     (4) A motion by a party seeking sanctions under this section must be served but may not be
14     filed with or presented to the court unless, within 21 days after service of the motion, the
15     challenged paper, claim, defense, contention, allegation, or denial is not withdrawn or
16     appropriately corrected.
17     (5)   In administrative proceedings under chapter 120, an administrative law judge shall
18     award a reasonable attorney’s fee and damages to be paid to the prevailing party in equal
19     amounts by the losing party and a losing party’s attorney or qualified representative in the
20     same manner and upon the same basis as provided in subsections (1)-(4). Such award shall be
21     a final order subject to judicial review pursuant to s. 120.68. If the losing party is an agency
22     as defined in s. 120.52(1), the award to the prevailing party shall be against and paid by the
23     agency. A voluntary dismissal by a nonprevailing party does not divest the administrative
24     law judge of jurisdiction to make the award described in this subsection.
25     (6) The provisions of this section are supplemental to other sanctions or remedies available
26     under law or under court rules.
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1       (7)   If a contract contains a provision allowing attorney’s fees to a party when he or she is
2       required to take any action to enforce the contract, the court may also allow reasonable
3       attorney’s fees to the other party when that party prevails in any action, whether as plaintiff
4       or defendant, with respect to the contract. This subsection applies to any contract entered into
5       on or after October 1, 1988.
6       (8) Attorney fees may not be awarded under this section in proceedings for an injunction
7       for protection pursuant to s. 741.30, s. 784.046, or s. 784.0485, unless the court finds by clear
8       and convincing evidence that the petitioner knowingly made a false statement or allegation in
9       the petition or that the respondent knowingly made a false statement or allegation in an
10      asserted defense, with regard to a material matter as defined in s. 837.011(3).
11      History.—s. 1, ch. 78-275; s. 61, ch. 86-160; ss. 1, 2, ch. 88-160; s. 1, ch. 90-300; s. 316, ch.
12      95-147; s. 4, ch. 99-225; s. 1, ch. 2002-77; s. 9, ch. 2003-94; s. 1, ch. 2010-129; s. 4, ch.
13      2019-167.
14
15   Due to MVP being a Corporation, or LLC, it likely has to have an attorney, But Carlson was
16   sued individually at first. The suit against was dismissed without opinion, so Plaintiff Pear was
17   forced to play a guessing game as to why the Complaint was dismissed. Carlson can be added as
18   a Defendant later, if the evidence leads to that. But there is no way that Pear should be subjected
19   to even a risk of owing attorneys fees due to Florida Statute 57.105. Attorney’s for MVP sent an
20   email where attorney’s fees are going to be sought of Seventeen Thousand Dollars, ($17,000) so
21   far due to Florida Statute 57.105.
22
23   The lawsuit of Pear is far from frivolous, but 57.105 puts him and the attorney at risk of owing
24   pumped up and juiced up attorneys fees. Pears suit should not be withdrawn, or subject to this
25   form of intimidation. Pear’s attorney even took his case on contingency.
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2      The circumstances of this case are also perplexing. The Plaintiff and Defendant were one
3      time friends and coworkers. The Attorney for Defendant is reported to have created the
4      Contract between the Plaintiff and Defendant, but advised Defendant to Breach. And now
5      various parties are now talking about insurance? Very strange.
6
7      CONCLUSION
8
9      At this point the Complaint is minimal. This may, or may not be justified, but due to the
10     dismissals without opinion, that’s where it is. Plaintiff/Counterdefendant Pear LLC believes
11     the Constitutionality of Florida Statute 57.105 should be tested in Federal Court, and this
12     state case should be removed to Federal Court.
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2    Submitted,
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4       DATED: July 6, 2023,
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6                                                  By:.    /s/ Thomas Neusom
7                                                         Attorney For
8                                                         Plaintiff/Counterdefendant
                                                          4737 N. Ocean Drive, #129
9
                                                          Fort Lauderdale, FL 33308
10                                                        Tel No. (954) 200-3536
                                                          Bar No. 0037148
11
                                                          Email: tgnoffice34@gmail.com
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3    CERTIFICATE OF SERVICE
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5    I HEREBY CERTIFY that a true and correct copy of the foregoing
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7
8     was furnished by email to the parties on the efiling portal on June 28, 2023.
9
10
11
12   By: __/s/ Thomas Neusom______________
13   Thomas Neusom
14   Attorney for Plaintiff/Counterdefendant
15   4737 N. Ocean Drive, #129
16   Fort Lauderdale, FL 33308
17   Tel No. (954) 200-3536
18   Fla. Bar No.: 37148
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